
546 S.E.2d 97 (2000)
353 N.C. 263
Kenneth Wayne HARTER and John Robert Payne
v.
C.D. VERNON, individually and in his official capacity as Sheriff Rockingham County; and U.S. Fidelity and Guaranty Company.
No. 433P00.
Supreme Court of North Carolina.
December 20, 2000.
Martha A. Geer, Raleigh, for Harter and Payne.
James R. Morgan, Jr., Winston-Salem, for Vernon &amp; U.S. Fidelity.
Prior report: 139 N.C.App. 85, 532 S.E.2d 836.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiffs in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 20th day of December 2000."
Upon consideration of the petition filed by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 20th day of December 2000."
